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Attorneys for Plaintiff/Counterclaim Defendant Garden of Life, LLC


                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


GARDEN OF LIFE, LLC,

        Plaintiff,

v.

RHEMA HEALTH PRODUCTS INC.,                       GARDEN OF LIFE, LLC’S ANSWER
                                                 AND DEFENSES TO RHEMA HEALTH
        Defendant.                                PRODUCT INC.’S THIRD AMENDED
                                                   ANSWER AND COUNTERCLAIM.

RHEMA HEALTH PRODUCTS INC.,
                                                        Case No. 2:16-cv-01222-BSJ
        Third-Party Plaintiff,

v.

TRI-ISO TRYLINE, LLC dba BAOBAB
FOODS,

        Third-Party Defendant.


        Plaintiff Garden of Life, LLC (“GOL”) hereby answers the Counterclaim of Defendant

Rhema Health Product Inc.’s (“Rhema”) Third Amended Answer and Counterclaim as follows:




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                                           COUNTERCLAIM

        1.          GOL admits that Rhema is a Washington corporation but lacks knowledge or

information sufficient to form a belief as to the location of Rhema’s principle place of business.

        2.          The allegations of Paragraph 2 merely purport to introduce allegations Rhema

asserts and therefore require no response. To the extent a response is required, GOL denies that

it breached any obligations or incurred any liability to Rhema.

        3.          Admitted.

        4.          The allegations of Paragraph 4 purport to assert a legal conclusion and therefore

require no response. To the extent a response is required, GOL does not contest the jurisdiction

of this Court.

        5.          Admitted.

        6.          GOL states that the allegations of Paragraph 6 purport to selectively quote from a

document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the Manufacturing Agreement between Rhema and GOL includes the

language quoted in Paragraph 6.

        7.          GOL states that the allegations of Paragraph 7 purport to construe a document that

speaks for itself and therefore require no response. To the extent that a response is required,

GOL admits that the Manufacturing Agreement provides, in Section III(4): “RHEMA shall be

responsible for securing and purchasing all raw materials from GOL designated and approved

suppliers and vendors. RHEMA will purchase raw materials and components, provided that GOL

fully assists with communication to raw material suppliers.”

        8.          GOL states that the allegations of Paragraph 8 purport to construe a document that

speaks for itself and therefore require no response. To the extent a response is required, GOL



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admits that the specifications for Raw Meal required the use of raw ingredients, including

moringa oleifera, but denies any remaining allegations of Paragraph 8.

        9.          Denied.

        10.         Denied.

        11.         GOL states that the allegations of Paragraph 11 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the language quoted in Paragraph 11 appears in the Quality

Agreement, except that the term “GOL” appears as “GoL”.

        12.         GOL states that the allegations of Paragraph 12 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the language quoted in Paragraph 12 appears in the Quality

Agreement, except that it states “GoL is also responsible for evaluating their formula and

submitting any notification of New Dietary Ingredient (NDI) required to FDA.”

        13.         GOL states that the allegations of Paragraph 13 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the language quoted in Paragraph 13 appears in the Quality

Agreement, except that it states “Prior to any commercial manufacturing, GoL will provide

RHEMA a final formula bill of material which lists formula ingredients and amounts along with

final package configuration.”

        14.         GOL states that the allegations of Paragraph 14 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the language quoted in Paragraph 14 appears in the Quality

Agreement, except that the term “Rhema” appears as “RHEMA”.



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        15.         GOL states that the allegations of Paragraph 15 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the language quoted in Paragraph 15 appears in the Quality

Agreement, except that the term “GOL” appears as “GoL”.

        16.         GOL states that the allegations of Paragraph 16 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the language quoted in Paragraph 16 appears in the Quality

Agreement, except that it appears at section 9.3.1, not 9.1, the term “Rhema” appears as

“RHEMA,” and Paragraph 16 does not contain a closed quotation mark.

        17.         GOL states that the allegations of Paragraph 17 purport to characterize documents

that speak for themselves and therefore require no response. To the extent a response is required,

GOL states that it lacks knowledge or information sufficient to form a belief as to the truth of the

matters asserted in Paragraph 17 and therefore leaves Rhema to its proof.

        18.         GOL states that the allegations of Paragraph 18 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the language quoted in Paragraph 18 appears in the Quality

Agreement, except that the term “GOL” appears as “GoL”.

        19.         GOL states that the allegations of Paragraph 19 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the language quoted in Paragraph 19 appears in the Quality

Agreement, except that it states “If additional testing is requested, GoL will modify its standard

testing plan accordingly and include the modifications on the product’s finished good

specification. All additional testing costs will be at the expense of GoL.”



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        20.         GOL states that the allegations of Paragraph 20 purport to construe a document

that speaks for itself and therefore require no response. To the extent a response is required,

GOL admits that Exhibit A, the Quality and Compliance Agreement Checklist, is incorporated

into the Quality Agreement.

        21.         GOL states that the allegations of Paragraph 21 purport to construe a document

that speaks for itself and therefore require no response. To the extent a response is required,

GOL admits that the Checklist “defines who is responsible for the Good Manufacturing Practice

(GMP) aspects of specification development, manufacturing, testing and release of GoL

products,” and notes that a party either had full, shared, or no responsibility for certain tasks, but

denies the remaining allegations.

        22.         GOL states that the allegations of Paragraph 22 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the language quoted in Paragraph 22 appears in Exhibit A to the

Quality Agreement, except that the term “GOL” appears as “GoL”.

        23.         GOL states that the allegations of Paragraph 23 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the language quoted in Paragraph 23 appears in the Quality

Agreement, except that the term “Rhema” appears as “RHEMA”.

        24.         GOL lacks knowledge or information sufficient to form a belief as to the truth of

the allegations of Paragraph 24 and therefore leaves Rhema to its proof.

        25.         GOL states that the allegations in Paragraph 25 – “Basic GOL microbial testing,

including testing for pathogens (salmonella and E. coli), was conducted on all incoming raw




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supplied by Baobab” – are incomprehensible as drafted and therefore require no response. To

the extent a response is required, GOL denies the allegations of Paragraph 25.

        26.         Denied.

        27.         Denied.

        28.         GOL states that the allegations of Paragraph 28 purport to construe a statute that

speaks for itself and to assert a legal conclusion, and therefore require no response. To the extent

a response is required, GOL denies that Paragraph 28 accurately characterizes or completely

addresses the requirements under Section 204(d)(2) of the Food Safety Modernization Act.

        29.         GOL states that the allegations of Paragraph 29 purport to construe a document

that speaks for itself and to assert a legal conclusion, and therefore require no response. To the

extent a response is required, GOL denies that Paragraph 29 accurately or completely addresses

the current draft guidelines.

        30.         GOL lacks knowledge or information sufficient to form a belief as to the truth of

allegations concerning what Rhema was “informed” by unidentified sources and therefore leaves

Rhema to its proof. GOL specifically denies the allegations of Paragraph 30 to the extent they

purport to assert that raw Moringa Powder is a “high risk” ingredient and that it has a “high

potential for being contaminated with microorganisms,” or that “the absence of steps taken to

reduce that likely contamination during the manufacturing process” makes Moringa Powder

“high risk”.

        31.         Denied.

        32.         Denied.

        33.         Denied.




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        34.         GOL denies the allegations of Paragraph 34 to the extent they suggest that raw

Moringa Powder has an unreasonable potential to result in contamination with microorganisms

or that “treat[ment] with a kill-step” is the only way to prevent such contamination. GOL states

that, as used in Paragraph 34, the term “microorganisms” is undefined, vague, and overbroad,

and the phrase “treated with a kill-step,” is undefined and vague. As such, the allegations do not

permit GOL to provide an additional response.

        35.         Admitted.

        36.         GOL states that the allegations of Paragraph 36 purport to assert a legal

conclusion and therefore require no response. To the extent a response is required, GOL

specifically denies the allegations that Moringa Powder is “a ‘high risk’ ingredient and otherwise

ha[s] a high risk of contamination with microorganisms,” GOL states that Rhema was obligated

to provide GOL Raw Meal that satisfied certain specifications and was not contaminated, and

GOL denies any remaining allegations of Paragraph 36.

        37.         GOL states that the allegations of Paragraph 37 purport to construe a document

that speaks for itself and therefore require no response. To the extent a response is required,

GOL denies that Rhema has properly construed the language of Section 9.1 of the Quality

Agreement.

        38.         GOL states that it lacks knowledge or information sufficient to form a belief as to

the truth of allegations concerning when GOL “informed” Rhema that Baobab was an approved

supplier of Moringa Powder and therefore leaves Rhema to its proof, but GOL admits that it

approved Baobab as a supplier and informed Rhema of that fact during its contractual

relationship with Rhema. GOL denies the remaining allegations of Paragraph 38 to the extent

they purport to imply that Rhema had no involvement in the use of Baobab as a supplier of



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Moringa Powder and further states that supplier approval was a shared responsibility of GOL and

Rhema.

        39.         The allegations of Paragraph 39 purport to assert a legal conclusion and therefore

require no response. To the extent a response is required, GOL denies the allegations of

Paragraph 39.

        40.         Denied.

        41.         GOL states that, as used in Paragraph 41, the term “microorganisms” is

undefined, vague, and overbroad, and therefore does not permit GOL to provide a response. To

the extent a response is required, GOL denies the allegations of Paragraph 41, except GOL

admits that any food product carries a risk of containing Salmonella.

        42.         GOL specifically denies the allegation that the “standard of care in the industry

was to apply a kill step to raw Moringa Powder,” and denies the remaining allegations of

Paragraph 42.

        43.         GOL states that the allegations of Paragraph 43 purport to construe a document

that speaks for itself and therefore require no response. To the extent a response is required,

GOL admits that the Raw Meal that Rhema manufactured for GOL was formulated to include

Moringa Powder as an ingredient, but denies the remaining allegations of Paragraph 43 to the

extent they intend to suggest that Rhema was forced into including contaminated Moringa

Powder in Raw Meal.




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        44.         GOL states that the allegations of Paragraph 44 purport to characterize a

document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that GOL received a written communication from Baobab, which was

addressed to Rhema, on or about April 16, 2015, but denies Rhema’s characterization of that

document.

        45.         GOL states that the allegations of Paragraph 45 purport to characterize a

document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that GOL received a written communication from Baobab, which was

addressed to Rhema, on or about April 16, 2015, but denies Rhema’s characterization of that

document.

        46.         GOL states that the allegations of Paragraph 46 purport to characterize a

document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that both GOL and Rhema received a written communication from

Baobab, which was addressed to Rhema, on or about April 16, 2015, but denies Rhema’s

characterization of that document.

        47.         GOL states that the allegations of Paragraph 47 purport to characterize a

document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that both GOL and Rhema received a written communication from

Baobab, which was addressed to Rhema, on or about April 16, 2015, but denies Rhema’s

characterization of that document.

        48.         GOL states that the allegations of Paragraph 48 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is




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required, GOL admits that GOL sent a written communication to Rhema on April 16, 2015,

which included the language quoted in Paragraph 48.

        49.         GOL states that the allegations of Paragraph 49 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the language quoted in Paragraph 49 appears in a communication

GOL received from Rhema on or about April 16, 2015.

        50.         GOL states that the allegations of Paragraph 50 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the language quoted in Paragraph 50 appears in a communication

GOL sent to Rhema on or about April 17, 2015.

        51.         GOL states that the reference to “levels of microorganisms,” as used in this

request, is vague and ambiguous, as it does not define “microorganisms” or identify any

particular level of microorganisms, nor does it necessarily refer to pathogens which are at issue

in this case, and therefore does not permit GOL to formulate a response to the allegations of

Paragraph 51. To the extent a response is required, GOL denies the allegations of Paragraph 51.

        52.         Denied.

        53.         GOL admits that it was informed that the total plate count levels in a sample of

Baobab’s Moringa Powder as of April 16, 2015 had ranged from 200,000 CFU/G to 800,000

CFU/G and found a total plate count of 1 million to be acceptable, but denies the allegations of

Paragraph 53 to the extent they purport to claim that the total plate count levels in non-

contaminated Moringa Powder were “high” or that Moringa Powder used in Raw Meal reached a

level of 1 million TPC.




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        54.         GOL admits that total plate count is a count of the total microbial organisms in

food ingredients or finished goods, but otherwise lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 54 and therefore leaves

Rhema to its proof.

        55.         GOL admits that total plate count is a count of the total microbial organisms in

food ingredients or finished goods, but denies that total plate count is indicative of or relevant to

pathogens such as salmonella, and otherwise lacks knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 55 and therefore leaves Rhema to its proof.

        56.         GOL states that the allegations of Paragraph 56 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the language quoted in Paragraph 56 appears in an email dated April

16, 2015 from GOL to Rhema, but denies Rhema’s characterization of that email.

        57.         Denied.

        58.         Denied.

        59.         The allegations of Paragraph 58 purport to construe a document that speaks for

itself and therefore require no response. To the extent a response is required, GOL admits that

Baobab asked if it could “go to 1.3 million TPC” on lots of Moringa Powder and that Suzanne

Cantwell of GOL indicated “1.3 million is ok,” but denies the allegations of Paragraph 59 to the

extent they purport to claim that Moringa Powder used in Raw Meal reached a level of 1.3

million TPC.

        60.         Denied.




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        61.         GOL states that the allegations of Paragraph 61 purport to characterize a

document that speaks for itself and therefore require no response. To the extent a response is

required, GOL denies the allegations of Paragraph 61.

        62.         GOL admits that E. Coli bacteria often live in the intestines of humans and

animals, but otherwise lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 62 and therefore leaves Rhema to its proof.

        63.         Admitted.

        64.         GOL admits that coliforms can be used as an indicator for hygiene in food and

dietary supplements, but otherwise lacks knowledge or information sufficient to form a belief as

to the truth of the allegations in Paragraph 64 and therefore leaves Rhema to its proof.

        65.         Admitted.

        66.         GOL admits that coliforms can be used as an indicator for hygiene, but denies

Rhema’s characterization of coliform as a “safety indicator.” GOL further states that the term

“surrogate,” as used in Paragraph 66, is undefined and vague, and does not permit GOL to

provide any additional response. To the extent a response is required, GOL denies that coliform

and salmonella have the same animal pathways of potential transmission and GOL denies the

remaining allegations of Paragraph 66.

        67.         GOL lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 67 and therefore leaves Rhema to its proof.

        68.         GOL states that the allegations of Paragraph 68 purport to assert a legal

conclusion and therefore require no response. To the extent a response is required, GOL admits

that coliforms may be used as an indicator of certain aspects of hygiene in certain food and

dietary supplements, but denies the allegations of Paragraph 68 to the extent they suggest that the



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mere presence of coliform indicates a problem with hygienic manufacturing practices. GOL

further denies that the presence of bacteria implies the presence of pathogens, such as

salmonella, and denies any remaining allegations in Paragraph 68.

        69.         Denied.

        70.         Denied.

        71.         GOL admits that Baobab had informed both GOL and Rhema of the option of

employing a dry steam processing step to lower total plate count levels, but denies the remaining

allegations of Paragraph 71.

        72.         GOL denies the allegations of Paragraph 72 and states that Rhema undertook the

contractual obligation to provide GOL with Raw Meal that was pure and free from

contamination regardless of what testing was employed.

        73.         Denied.

        74.         Denied.

        75.         Denied.

        76.         GOL admits that GOL and Rhema agreed to include raw Moringa Powder

sourced from Baobab as an ingredient in Raw Meal, but denies the remaining allegations of

Paragraph 76, and specifically denies the allegation that “raw Moringa Powder carried a high

risk of having contamination.”

        77.         Denied.

        78.         GOL denies the allegations of Paragraph 78 to the extent they purport to assert

that “Moringa Powder carried a high risk of the sort of bacterial contamination that posed a

danger to human health and safety” and denies any allegation that GOL knew and/or withheld




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material information about Moringa Powder from Rhema, or that Rhema lacked knowledge

about any risks associated with the product it agreed to manufacture.

        79.         GOL denies the allegations of Paragraph 79 to the extent they purport to assert

that “the approved testing parameters were not reasonably sufficient to detect and/or prevent the

sort of contamination that would be harmful to human health and safety” and denies any

allegation that it knew and/or withheld material information about testing parameters from

Rhema, or that Rhema lacked knowledge about testing parameters concerning the manufacturing

that it undertook to provide. GOL further states that it lacks knowledge or information sufficient

to form a belief as to the truth of the allegations concerning Rhema’s “knowledge” in Paragraph

79 and therefore leaves Rhema to its proof.

        80.         The allegations of Paragraph 80 purport to construe a document that speaks for

itself and to assert a legal conclusion and therefore require no response. To the extent a response

is required, GOL denies the allegations of Paragraph 80.

        81.         The allegations of Paragraph 81 purport to construe a document that speaks for

itself and to assert a legal conclusion and therefore require no response. To the extent a response

is required, GOL denies the allegations of Paragraph 81.

        82.         The allegations of Paragraph 82 purport to construe a document that speaks for

itself and to assert a legal conclusion and therefore require no response. To the extent a response

is required, GOL denies the allegations of Paragraph 82.

        83.         The allegations of Paragraph 83 purport to assert a legal conclusion and therefore

require no response. To the extent a response is required, GOL denies the allegations of

Paragraph 83 and further states that the Court has held that there was, in fact, a warranty of




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merchantability implied in the parties’ agreements and that Rhema breached that implied

warranty.

        84.         The allegations of Paragraph 84 purport to assert a legal conclusion and therefore

require no response. To the extent a response is required, GOL denies the allegations of

Paragraph 84.

        85.         Denied.

        86.         GOL admits that, to the best of its knowledge and belief, Baobab sold and

delivered Rhema lots of Moringa Powder and certain of those lots were contaminated with

Salmonella, but lacks knowledge or information sufficient to form a belief as to the precise dates

on which Baobab sold and delivered Moringa Powder, and therefore leaves Rhema to its proof.

        87.         GOL states that the allegations of Paragraph 87 purport to characterize documents

that speak for themselves and therefore require no response. To the extent a response is required,

GOL states that it lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 87 and therefore leaves Rhema to its proof.

        88.         GOL admits that Moringa Powder from Baobab was identified to be the source of

the Salmonella contamination in the Raw Meal that Rhema manufactured and supplied to GOL,

but lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 88 and therefore leaves Rhema to its proof.

        89.         GOL states that it is undisputed that the Raw Meal manufactured and supplied by

Rhema to GOL, incorporating the Moringa Powder from Baobab, was contaminated with

Salmonella, but lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 89 and therefore leaves Rhema to its proof.




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        90.         GOL states that it is undisputed that the Raw Meal manufactured and supplied by

Rhema to GOL, incorporating the Moringa Powder from Baobab, was contaminated with

Salmonella, but lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 90 and therefore leaves Rhema to its proof.

        91.         GOL admits that the Raw Meal Rhema manufactured and supplied to GOL was

contaminated with Salmonella, which the Court has held was a material breach of the parties’

agreements, and that the source of the Salmonella contamination in the Raw Meal was Moringa

Powder. However, GOL states that it lacks knowledge or information sufficient to form a belief

as to truth of any allegations as to when the Moringa Powder was first contaminated prior to its

being used in the Raw Meal and therefore leaves Rhema to its proof.

        92.         The allegations in Paragraph 92 seek an admission regarding an inadmissible

subsequent remedial measure and therefore require no response. To the extent a response is

required, GOL admits that it reformulated the specifications in light of the contaminated product

that Rhema had supplied.

        93.         GOL admits that Rhema supplied a replacement product but denies the remaining

allegations of Paragraph 93.

        94.         GOL lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 94 and therefore leaves Rhema to its proof.

        95.         GOL admits that Rhema supplied certain replacement Raw Meal product to GOL

after February 2016, but denies that Rhema is still doing so and denies the remaining allegations

of Paragraph 95.

        96.         The allegations of Paragraph 96 purport to assert a legal conclusion and therefore

require no response. To the extent a response is required, GOL denies the allegations of



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Paragraph 96 and further states that the Court has already held that Rhema did not meet its

obligations under the parties’ agreements.

        97.         The allegations of Paragraph 97 purport to assert a legal conclusion and therefore

require no response. To the extent a response is required, GOL denies the allegations of

Paragraph 97 and further states that the Raw Meal products Rhema manufactured and supplied to

GOL did not comply with their Finished Goods Specification and Packaging Specifications

because, as the Court has held, the products were contaminated with Salmonella.

        98.         The allegations of Paragraph 98 purport to assert a legal conclusion and therefore

require no response. To the extent a response is required, GOL denies the allegations of

Paragraph 98 and further states that the Raw Meal products Rhema manufactured and supplied

did not comply with the Quality Agreement because, as the Court has held, the products were

contaminated with Salmonella.

        99.         GOL states that the allegations of Paragraph 99 purport to assert a legal

conclusion and therefore require no response. To the extent a response is required, GOL denies

the allegations of Paragraph 99 and further states that Rhema’s manufacture and supply of Raw

Meal products contaminated with Salmonella did not comply with 21 CFR Part 111.

        100.        GOL states that the allegations of Paragraph 100 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the Manufacturing Agreement between Rhema and GOL includes the

language quoted in Paragraph 100.

        101.        GOL states that the allegations of Paragraph 101 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is




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required, GOL admits that the Manufacturing Agreement between Rhema and GOL includes the

language quoted in Paragraph 101.

        102.        GOL states that the allegations of Paragraph 102 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the Manufacturing Agreement between Rhema and GOL includes the

language quoted in Paragraph 102.

        103.        GOL states that the allegations of Paragraph 103 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the Manufacturing Agreement between Rhema and GOL includes the

language quoted in Paragraph 103.

        104.        GOL states that the allegations of Paragraph 104 purport to selectively quote from

a document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that the Manufacturing Agreement between Rhema and GOL includes the

language quoted in Paragraph 104.

        105.        GOL states that the allegations of Paragraph 105 purport to characterize

documents that speak for themselves and therefore require no response. To the extent a response

is required, GOL admits that it did not make payment of the amounts referenced in Paragraph

105 within 30 days of the invoice, but denies it has any obligation to make payment to Rhema

given the Court’s ruling that Rhema materially breached the parties’ agreements and the other

affirmative defenses stated below.

        106.        GOL states that the allegations of Paragraph 106 purport to characterize a

document that speaks for itself and therefore require no response. To the extent a response is

required, GOL denies that any amount is “currently owing under the invoice” and that GOL has



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any obligation to make payment to Rhema given the Court’s ruling that Rhema materially

breached the parties’ agreements and the other affirmative defenses stated below.

        107.        GOL admits it did not make payment of the amounts referenced in Paragraph 107

within 30 days of the invoice, but denies that GOL has any obligation to make payment to

Rhema given the Court’s ruling that Rhema materially breached the parties’ agreements and the

other affirmative defenses stated below.

        108.        GOL states that the allegations of Paragraph 108 purport to characterize a

document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that it did not make payment within 30 days of the invoice referenced in

Paragraph 108, but denies that any amount is “currently owing under the invoice” and that GOL

has any obligation to make payment to Rhema given the Court’s ruling that Rhema materially

breached the parties’ agreements and the other affirmative defenses stated below.

        109.        GOL denies the allegations of Paragraph 109 given the Court’s ruling that Rhema

materially breached the parties’ agreements and the other affirmative defenses stated below.

        110.        GOL states that the allegations of Paragraph 110 purport to characterize a

document that speaks for itself and therefore require no response. To the extent a response is

required, GOL admits that it did not make purchases of the amount reflected in Paragraph 110,

but denies that GOL had any obligation to do so given the Court’s ruling that Rhema’s materially

breached the parties’ agreements and the other affirmative defenses stated below.

        111.        Denied.

        112.        GOL states that the allegations of Paragraph 112 purport to characterize a

document that speaks for itself and to assert a legal conclusion, and therefore require no

response. To the extent a response is required, GOL denies the allegations of Paragraph 112 and



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that GOL has any obligation to make payment to Rhema given the Court’s ruling that Rhema

materially breached the parties’ agreements and the other affirmative defenses stated below.

        113.        GOL states that the allegations of Paragraph 113 purport to characterize a

document that speaks for itself and to assert a legal conclusion, and therefore require no

response. To the extent a response is required, GOL denies the allegations of Paragraph 113 and

that GOL has any obligation to make payment to Rhema given the Court’s ruling that Rhema

materially breached the parties’ agreements and the other affirmative defenses stated below.

        114.        GOL states that the allegations of Paragraph 114 purport to characterize a

document that speaks for itself and to assert a legal conclusion, and therefore require no

response. GOL further states that it lacks knowledge of information sufficient to form a belief as

to the truth of the allegations of Paragraph 114 and therefore leaves Rhema to its proof.

        115.        GOL states that the allegations of Paragraph 115 purport to characterize

documents that speak for themselves and to assert a legal conclusion, and therefore require no

response. To the extent a response is required, GOL denies the allegations of Paragraph 115 and

that GOL has any obligation to make payment to Rhema given the Court’s ruling that Rhema

materially breached the parties’ agreements and the other affirmative defenses stated below.

                                      FIRST CAUSE OF ACTION
                                          Breach of Contract

        116.        GOL incorporates and repeats its responses to Paragraphs 1-115 of Rhema’s

Counterclaim as if fully set forth herein.

        117.        GOL states that the allegations of Paragraph 117 purport to assert a legal

conclusion and therefore require no response. To the extent a response is required, GOL denies

the allegations of Paragraph 117 and further states that Rhema materially breached the parties’

agreements.


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        118.        GOL states that the allegations of Paragraph 118 purport to assert a legal

conclusion and therefore require no response. To the extent a response is required, GOL denies

the allegations of Paragraph 118 and further states that Rhema materially breached the parties’

agreements.

        119.        GOL lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in Paragraph 119 and therefore leaves Rhema to its proof.

        120.        GOL states that the allegations of Paragraph 120 purport to assert a legal

conclusion and therefore require no response. To the extent a response is required, GOL denies

the allegations of Paragraph 120 and further states that Rhema materially breached the parties’

agreements.

        121.        GOL states that the allegations of Paragraph 121 purport to assert a legal

conclusion and therefore require no response. To the extent a response is required, GOL denies

the allegations of Paragraph 121 and further states that Rhema materially breached the parties’

agreements, which, as the Court has held, caused GOL damages.

                                   SECOND CAUSE OF ACTION
                            Breach of Duty of Good Faith and Fair Dealing

        122.        GOL incorporates and repeats its responses to Paragraphs 1-121 of Rhema’s

Counterclaim as if fully set forth herein.

        123.        The allegations of Paragraph 123 purport to assert a legal conclusion and

therefore require no response. To the extent a response is required, GOL denies any suggestion

that it breached any duty to Rhema.

        124.        The allegations of Paragraph 124 purport to construe a document that speaks for

itself and to assert a legal conclusion, and therefore require no response. To the extent a

response is required, GOL denies the allegations of Paragraph 124 and that GOL has any


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obligation to make payment to Rhema given the Court’s ruling that Rhema materially breached

the parties’ agreements and the other affirmative defenses stated below.

        125.        The allegations of Paragraph 125 purport to construe a document that speaks for

itself and to assert a legal conclusion, and therefore require no response. To the extent a

response is required, GOL denies the allegations of Paragraph 125 and that GOL has any

obligation to make payment to Rhema given the Court’s ruling that Rhema materially breached

the parties’ agreements and the other affirmative defenses stated below.

        126.        The allegations of Paragraph 126 purport to assert a legal conclusion and

therefore require no response. To the extent a response is required, GOL denies the allegations

of Paragraph 126 and that GOL has any obligation to make payment to Rhema given the Court’s

ruling that Rhema materially breached the parties’ agreements and the other affirmative defenses

stated below.

        127.        GOL denies the allegations of Paragraph 127 to the extent they purport to claim

that the total plate count levels in Moringa Powder were “high” at any time or all times in 2015

or that every lot of Moringa Powder supplied by Baobab to Rhema contained high total plate

counts. GOL denies any remaining allegations of Paragraph 127.

        128.        GOL denies the allegations of Paragraph 128 to the extent they purport to assert

that “Baobab recommended irradiating the raw Moringa Powder” and denies any remaining

allegations in Paragraph 128.

        129.        GOL denies the allegations of Paragraph 129 to the extent they purport to assert

that “the reason why Baobab recommended irradiating the raw Moringa Powder was to kill

microorganisms” and denies any remaining allegations in Paragraph 129.




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        130.        GOL denies the allegations of Paragraph 130 to the extent they purport to assert

that the “testing parameters that [GOL] approved . . . were not reasonably sufficient to detect

and/or prevent salmonella” and denies any remaining allegations in Paragraph 130.

        131.        Denied.

        132.        The allegations of Paragraph 132 are not assertions of fact but are phrased

hypothetically and therefore require no response. To the extent a response is required, GOL

denies the allegations of paragraph 132.

        133.        The allegations of Paragraph 133 merely purport to characterize Rhema’s claims

and therefore require no response. To the extent a response is required, GOL denies that Rhema

has a valid claim against GOL for breach of implied duty of good faith and fair dealing.

        134.        Denied.

                              PRAYER FOR RELIEF ON COUNTERCLAIM

        GOL denies that Rhema is entitled to the relief Rhema has requested against GOL or any

other relief against GOL.




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                                    ADDITIONAL DEFENSES

                                          First Defense

        Rhema’s claims are barred because this court has held that Rhema has materially

breached the Manufacturing Agreement and the Quality Agreement with GOL, which breach

excuses any performance obligations on the part of GOL.

                                         Second Defense

        Rhema’s claims are barred in whole or in part by the provisions of the agreements

referred to in the Complaint.

                                          Third Defense

        Rhema’s claims against GOL are barred to the extent Rhema’s alleged injuries were

caused by the fault of third parties.

                                         Fourth Defense

        Rhema’s claims are barred in whole or in part by the doctrines of waiver, ratification,

and/or estoppel, including promissory estoppel.

                                          Fifth Defense

        Rhema’s claims are barred in whole or in part to the extent Rhema has failed to mitigate

any damages it has allegedly suffered.

                                          Sixth Defense

        Rhema’s claims are barred in whole or in part because this court has held that Rhema has

breach its implied warranty of merchantability, which breach excuses GOL from any obligation

to make payment to Rhema.




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                                        Seventh Defense

        GOL is entitled to an offset for its damages based on Rhema’s breach of its contractual

obligations under the parties’ agreements, which caused GOL to incur substantial damages.

                                         Eighth Defense

        GOL is entitled to an offset for its damages based on Rhema’s breach of its implied

warranty of merchantability under the parties’ agreements, which caused GOL to incur

substantial damages.

                                         Ninth Defense

        Rhema’s claims are barred in whole or part because it manufactured and supplied non-

conforming and adulterated goods, excusing GOL from any obligation to make payment to

Rhema.

                                         Tenth Defense

        Rhema’s claims are barred in whole or part because of its failure to meet a condition

precedent through its manufacture and supply of Salmonella-contaminated Raw Meal to GOL in

breach of its contractual obligations and of its implied warranty of merchantability, excusing

GOL from any obligation to make payment to Rhema.

                                        Eleventh Defense

        GOL hereby gives notice that it intends to rely upon such and further defenses as may

become available or apparent during further proceedings in this case and hereby reserves its right

to amend its Answer and assert such defenses.




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Dated: June 26, 2018                  Respectfully submitted,

                                      MANNING CURTIS BRADSHAW
                                      & BEDNAR PLLC


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                            CERTIFICATE OF SERVICE
       I hereby certify that I caused a true and correct copy of the foregoing GARDEN
 OF LIFE, LLC’S ANSWER AND DEFENSES TO RHEMA HEALTH PRODUCT
 INC.’S THIRD AMENDED ANSWER AND COUNTERCLAIM to be served in the
 method indicated below to the below-named parties this 26th day of June, 2018.


    ___HAND DELIVERY                    Heather L. Thuet
    ___U.S. MAIL                        Bryson R. Brown
    ___FAX TRANSMISSION                 CHRISTENSEN & JENSEN, P.C.
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                                        Tryline, LLC dba Baobab Foods

                                        /s/ Christopher M. Glauser




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